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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 19-808V
                                        (not to be published)


    GARY RADFORD,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: June 23, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Alexis B. Babcock, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On June 3, 2019, Gary Radford filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine administration
as a result of his January 17, 2018, Tetanus Diphtheria acellular Pertussis vaccination.
(Petition at 1). On October 29, 2021, a decision was issued awarding compensation to
Petitioner based on the parties’ stipulation. (ECF No. 47).


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated May 1, 2022,
(ECF No. 53), requesting a total award of $36,268.90 (representing $34,264.00 in fees
and $2,004.90 in costs). In accordance with General Order No. 9, counsel for Petitioner
represents that Petitioner has not incurred out of pocket expenses. (Id. at 1). Respondent
reacted to the motion on May 2, 2022, indicating that he is satisfied the statutory
requirements for an award of attorneys’ fees and costs are met in this case, deferring
resolution of the amount to be awarded to my discretion. (ECF No. 54). On May 2, 2022,
Petitioner filed a reply requesting the fees and costs be awarded in full. (ECF No. 55).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $36,268.90 (representing $34,264.00 in fees and $2,004.90 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
